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Magistrate' s ch,ket No. .
Case No. ’

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The accused LC“‘""\|} G“L“ 5555‘“1@"`)5`_5\`5 presented before

 

, United States Magistrate Judge, for

arraignment and fixing 'of bail, has been charged by a complaint' signed by a

Magistrate Judge in the §Qv$l‘L~\/Q District of IL\»JQ at

 

 

 

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c;c._¢']; §/‘n» ¢af=;q ' _,
about ¢O-.HI ‘G/‘rz- ¢WY<, ‘ at Co~*'~¢`-| 6‘\15-`3 /C’““\“’°°'~(, I/q , the accused

 

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in violation of Title 3\ , United States Code, Section 546 "'.SWLQW)

A warrant for the arrest of the defendant was issued on 03 / 3 L(Qecrc ,

'Bond in the sum of 'O"'+“l“ has been recommended by an Assistant

United States Attorney in the district in which the charges are pending.

DATED: ?/Z // M

Affiant

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in lieu of certified copy of complaint against the accused.

 

SWHIvcs:050598

 

Case 3:OO-mj-02774-.]AH Documentl Filed 09/21/00 Page|D.S PageSof 10
\A€_)MZ (Rcv.$/P?) WmmtforArrm

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UNITED STATES DISTRICT COURT

 

 

SOUTHERN District of IOWA
UNITED STATES OF AMERICA
WARRANT FOR ARREST
V.
LARRY GALE CHENOWITH Case Number: 00-195

To; 'I'he Unitcd States Marshal
and any Authorized United States OHicer

YOU ARE HEREBY COMMANDED to arrest
a/k/a Larry Da]_e Chenowetch a/k/a b%§§gw(e;%%e

and bring him or her forthwith to the nearest magistrate judge to answer a(n)
X lndictment [1 Information l:| Complaint Order of court L`_] Violation Notice I:| Probation Violation Petition

charging him or her with (briefdscription oran‘ense)
conspiracy to distribute methamphetamine and marijuana

(Copy of Indictment attached)

in violation of Title 21 United States Code, Section(s) 846 § 84 11 1111 1 1151 1111 and 1121

 

 

 

 

 

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. August 30, 2000 Des Moines1 Iowa
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Bail_fixed at $ Detain by Ross A. Walters, U,S. Magistrate Judge
blame ofJudicial OEicer
RETURN

 

'Ihjs warrant was received and executed with the arrest of the above~named defendant

 

 

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DATE OF` ARREST

 

 

 

 

 

Case 3:OO-mj-02774-.]AH Documentl Filed 09/21/00 Page|D.4 Page40110

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,
Plaintii°f,

V.

FRANCISCO JAVIER GUARDADO, SR_.,

GUADALUPE GUARDADO,
a!l</a Guadalupe Guardado-Tapia,
LARRY GALE CHENOWITH,
a/kja Larry Dale Chenowith,
a/k/a Lany Dale Chenowetch,
a/l</a Larry Gale Chenoweth,
JAMES PATRICK BRIGGS,
a/l</a "Soup"
CHARLES EARL GANSKE,
TIMOTHY JOHN MATULA,

Defendant.

'I`HE GRAND JURY CHARGES:

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COUNT 1

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CrirninaiNo. O@'“lel$
INDICTMENT

[r. 21 U.s.c. § 841(11)(1);
T_ 21 U.s.c. §841(11)(1)(A);
1.21U.s.c.§s111(11)(1)(c)',

T. 21 U.s.C_ § 341(11)(1)(1));
'r_ 21 U.s.c. §846.]

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Frorn on or about May, 1996, and continuing to October, 20, 1999, the exact dates

to the Grand Jnry unknown, in the Southern District of Iowa and elsewhere, two or more persons,

known and unknown to the Grand Iury, including but not limited to defendants, FRANCISCO 5

JAV[ER GUARDADO, SR., GUADALUPE GUARDADO, a/l</a Guadalupe Guardado-Tapia,

LARRY GALE CHENOWITH, a/k/a Larry Dale Chenowith, a/k/a‘Larry Dale Chenowetch, a/k/a

" _Larry Gale Chenoweth, JAMES PATRICK BRIGGS, a/i</a "Soup" CHARLES EARL GANSKE,

and TIMOTHY IOHN 1"1/IA'1`UL!’11 did conspire to commit an offense against the United States,

namely to knowingly and intentionally distribute 500 grams or more of a mixture or substance

containing methamphetamine1 a Schedule ll controlled substance, in violation of Title 21, United

Case 3:OO-mj-02774-.]AH Documentl Filed 09/21/00 Page|D.B Page$ot 10

States Code, Section 841(11)(1).

This is in violation of Title Zl, United States Code, Section 846 and Title 21, United
States Code, Section 84l(b)(i)(A).

THE GRAND JURY FURTHER CHARGES:

COUNT 2

Frotn on or about April,1993, and continuing to October 20, 1999, the exact dates to
the Grand Jury unknown, in the Southern District of Iowa and elsewhere, two or more persons,
known and unknown to the Grand lury, including but not limited to defendants, FRANCISCO
JAVIER GUARDADO, SR., GUADALUPE GUARDADO, afk/a Guadalupe Guardado~Tapia,
LARRY GALE CHENOW[TH, a/k/a Larry Dale Chenowith, a/k/_a Lany Dale Chenowetch, a/k/a
Larry Gale Chenoweth, and TIMOTHY JOHN MATULA, did conspire to commit an oii`ense against
the United States, namely to knowingly and intentionally distribute not more than 100 kilograms of
marijuanal a Schedule I controlled substance, in violation of Title 21, United States Code, Section
841(a)(1).

This is in violation ofTitle 21, United States Code, Section 846 and Title 21, United
Staies Code, Sections 84l(b)(i)(C) and 84I(b)(1)(D).

A TRUE BILL. »-

FoREPERSON

 

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Case 3:OO-mj-02774-.]AH Documentl Filed 09/21/00 Page|D.€ Page€ot 10

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